Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 1 of 56

 

 

 

 

 

 

 

 

Pennsylvania
For Prothonotary Use Only:

7

. S nw
Cc ounty Docket No: S Om
D2-O0/035 |~ 3s
= Mem
, ee
The information collected on this form is used solely for court administration purposes. This solr doe For

supplement or replace the filing and service of pleadings or other papers as required by law or rules of comrk ®°

 

Commencement of Action: U 2 © =
& Complaint O Writ of Summons 0 Petition O) Notice of *ppeal 1
O Transfer from Another Jurisdiction 0 Declaration of Taking —_ O

co om

 

Lead Plaintiff's Name:SARA COON, Administratrix of the Estate

Lead Defendant’s Name: COUNTY OF LEBANON
of Maxwell Schollenberger, and in her own tight

 

 

O Check here if you are a Self-Represented (Pro Se) Litigant
Name of Plaintiff/Appellant’s Attomey: _ STEVEN F. MARINO, ESQUIRE

 

 

Are money damages requested? :

MYes ONo

 

Dollar Amount Requested:

within arbitration limits
outside arbitration limits

 

- ZORA D

Is this a Class Action Suit?

O Yes

(Check one) xX

@ No

 

 

 

Nature of the Case: Place an “X” to the left of the ONE ca

 

se category that most accurately describes your
PRIMARY CASE. If you are making more than one type of claim, check the one that
you consider most important.

 

TORT (do not include Mass Tort)
| Intentional
O) Malicious Prosecution
O) Motor Vehicle
O Nuisance
O Premises Liability
O) Product Liability (does not include
mass tort)
O  Slander/Libel/ Defamation
Mi Other:

Wrongful Death / Civil Rights

 

 

 

MASS TORT

O Asbestos

O Tobacco

O Toxic Tort - DES

O Toxic Tort - Implant
O Toxic Waste

O Other:

ZOnmHA NED

o)

 

 

 

 

PROFESSIONAL LIABLITY
O Dental

O Legal

O Medical

Other Professional:

 

 

 

CONTRACT (do not include Judgments)
O Buyer Plaintiff
O Debt Collection: Credit Card
QO Debt Collection: Other

 

 

( Employment Dispute:
Discrimination
O) Employment Dispute: Other

 

 

 

 

CIVIL APPEALS
Administrative Agencies
0 Board of Assessment
0 Board of Elections
QO Dept. of Transportation
0D Zoning Board
O Statutory Appeal: Other

Judicial Appeals
O MD4 - Landlord/Tenant

 

 

O Eminent Domain/Condemnation
O Ground Rent

0 Landiord/Tenant Dispute

O Mortgage Foreclosure

O Partition

O Quiet Title

O Other:

 

 

 

 

 

 

. O MD3J- Money Judgment
0 Other: O1 Other:
REAL PROPERTY MISCELLANEOUS
1 Ejectment O Common Law/Statutory Arbitration

O Declaratory Judgment

O Mandamus

O Non-Domestic Relations
Restraining Order

0) Quo Warranto

0) Replevin

O Other:

 

Pa.R.C.P. 205.5

2/2010

 

 

 
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 2 of 56

MARINO ASSOCIATES

BY: STEVEN F. MARINO, ESQUIRE
ATTORNEY I.D. #53034

JOSEPH AUDDINO, ESQUIRE
ATTORNEY LD. #316752

301 WHARTON STREET
PHILADELPHIA, PA 19147

(215) 462-3200

 

SARA COON, Administratrix of the
Estate of Maxwell Schollenberger,
and in Her Own Right

Plaintiff
v

COUNTY OF LEBANON et. al.

Defendants

 

THIS IS NOT AN ARBITRATION
CASE. AN ASSESSMENT OF
DAMAGES HEARING IS
REQUIRED

 

Attorneys for Plaintiff
IN THE COURT OF COMMON PLEAS

LEBANON COUNTY -
CIVIL DIVISION

No. 202/-0/035

NOTICE TO DEFEND

NOTICE

You have been sued in court. [f you wish to defend
against the claims set forth in the following pages, you
must take action within twenty (20) days after this
complaint and notice are served, by entering a written
appearance personally or by attorney and filing in
writing with the court your defenses or objections to the
claims set forth against you. You are warned that if you
fail to do so the case may proceed without you and a
judgment may be entered against you by the court
without further notice for any money claimed in the
complaint of for any other claim or relief requested by
the plaintiff. You may lose money or property or other
rights important to you.

You should take this paper to your lawyer at once. If you
do not have a lawyer or cannot afford one, go to or
telephone the office set forth below to find out where you
can get legal help.

Mid-Penn Legal Services
513 Chestnut Street
Lebanon, PA 17042

Phone: (717) 274-2834

AVISO

Le han demandado a usted en la corte. Si usted quiere
defenderse de estas demandas expuestas en las paginas
sigutentes, usted tiene veinte (20) dias de plazo al partir
de la fecha de Ja demanda y la notificacion. Hace falta
ascentar una comparencia escrita o en persona o con un
abogado y entregar a la corte en forma escrita sus
defensas o sus objeciones a las demandas en contra de
su persona. Sea avisado que si usted no se defiende, la
corte tomara medidas y puede continuar la demanda en
contra suya sin previo aviso o notificacion. Ademas, la
corte puede decider a favor del demandante y requiere
que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus propiedades
u otros derechos importantes para usted.

Lleve esta demanda a un abogado immediatamente. Si no
tiene abogado o si no tiene el dinero suficiente de pagar
tal servicio. Vaya en persona o Ilame por telefono a la
oficina cuya direccion se encuentra escrita abajo para
averiguar donde se puede conseguir asistencia legal.

Mid-Penno Legal Services
513 Chestnut Street
Lebanon, PA 17042

Phone: (717) 274-2834
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 3 of 56

MARINO ASSOCIATES

BY: STEVEN F. MARINO, ESQUIRE
ATTORNEY LD, #53034

JOSEPH AUDDINO, ESQUIRE
ATTORNEY LD. #316752
301 WHARTON STREET

PHILADELPHIA, PA 19147
(215) 462-3200

SARA COON, Administratrix

of the Estate of Maxwell Schollenberger,
and in her own right

c/o Marino Associates
301 Wharton Street

Philadelphia, PA 19147
Vv Plaintiff

COUNTY OF LEBANON

Municipal Building, Room 401

400 South 8th Street

Lebanon, PA 17042-6794

and

ERIN M. MOYER

Municipal Building, Room 401
400 South 8th Street

Lebanon, PA 17042-6794

and

SCOTT SCHOLLENBERGER, JR.
Lebanon County Prison

730 E. Walnut Street
Lebanon, PA.17042

and
KIMBERLY MAURER
Lebanon County Prison

730 E. Walnut Street
Lebanon, PA 17042

Defendants

THIS IS NOT AN ARBITRATION
CASE. AN ASSESSMENT OF DAMAGES
HEARING IS REQUIRED
z
Attomeys for Plaintiff B os
meee
=e mon
INTHE COURTOFCOMMON & 2573
PLEASLEBANONCOUNTY- '" ZEo
CIVIL DIVISION ren
0 por
No. ZO2(-OIOSS = 38
— m
o
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 4 of 56

CIVIL ACTION —- COMPLAINT

AND NOW comes the plaintiff Sara L. Coon, Administratrix of the Estate of Maxwell
Schollenberger, Deceased, by and through counsel, and demands of the defendants, jointly and severally,
sums in excess of the mandatory arbitration amount within the meaning of the provisions of 42 PaC.S.A. §
7361, plus interest, costs, and damages for prejudgment delay upon the causes of action set forth in the
following:

JURISDICTION AND VENUE

1. This Court maintains original jurisdiction over the instant claims pursuant to 42 Pa.C.S.A. §
7361 as aresult of the amount in controversy exceeding mandatory arbitration amounts.

2. Venue of this matter is properly laid in this judicial district pursuant to PaR.C.P. No. 1006
and PaR.C.P. No. 2103 as a result that individual defendants may be served, the cause of action arising,
transaction or occurrence taking place, and/or defendants regularly conducting business or otherwise utilizing
the market place within this judicial district.

3, Venue of this matter is properly laid in this judicial district pursuant to PaR.C.P. No, 2103 as

a result of a defendant political subdivision being located within this judicial district.

PARTIES, RELATED ENTITIES, AND INTERESTED PERSONS

4, The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

5. Plaintiff Sara L. Coon is an adult individual residing in the state of North Carolina and the
biological mother of Maxwell Schollenberger, decedent. Plaintiff Sara L. Coon may be contacted by and
through counsel, Steven F. Marino, Esquire or Joseph Auddino, Esquire of Marino Associates at 301 Wharton
Street, Philadelphia, PA 19147.

6. On June 28, 2021, petitioner Sara L. Coon was appointed to serve as the Administrator of the

Estate of Maxwell Schollenberger, deceased, by the granting of Letters of Administration issued by the
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 5 of 56

Register of Wills of Lebanon County [see a copy of the Letters of Administration attached hereto and marked
Exhibit 1].

7. Defendant County of Lebanon is a county of the fifth class established pursuant to the County
Code, 16 P.S. § 201, and a political subdivision of the Commonwealth of Pennsylvania authorized to exercise
essential govemmental functions and in efféctuating. such Purposes operates through the Lebanon County
Children and Youth Services agency. Defendant County of Lebanon has a registered office for process of
service located Municipal Building, Room 401, 400 South 8th Street, Lebanon, PA 17042-6794. At all
material times relevant hereto, defendant County of Lebanon acted by and through its duly authorized
employees, agents, workers and/or representatives acting within the scope of their employment.

8. Defendant Erin M. Moyer is an adult individual and was at all material times relevant hereto
employed by defendant County of Lebanon acting under the color of state and/or local law. At all material
times relevant hereto defendant Erin M. Moyer served as the Administrator of the Lebanon County Children
and Youth Services agency. At all material times relevant hereto defendant Erin M. Moyer served as a policy
maker on behalf of the defendant County of Lebanon. These causes of action are advanced against her in her
professional and individual capacity.

9. Defendant Scott Schollenberger, Jr. is an adult individual currently incarcerated at the
Lebanon County Prison located 730 E. Walnut Street, Lebanon, PA 17042 awaiting a criminal trial for the
homicide in the death of twelve (12) year old Maxwell Schollenberger. Defendant Scott
Schollenberger, Jr. is the biological father of Maxwell S chollenberger, decedent.

10. Defendant Kimberly Maurer is an adult individual currently incarcerated at the Lebanon
County Prison located 730 E. Walnut Street, Lebanon, PA 17042 awaiting. a criminal trial for the homicide

in the death of twelve (12) year old Maxwell Schollenberger.
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 6 of 56

THE DEATH OF TWELVE (12) YEAR OLD MAXWELL SCHOLLENBERGER

11. The plaintiffincorporates by reference the paragraphs above as if set forth herein in full.

12. Maxwell Schollenberger, decedent was bom out of wedlock December 8, 2007, by way of
the union of the plaintiff and defendant Scott Schollenberger, Jr.

13. Pursuant to a court order entered by a Judge of the Lebanon County Court of
Common Pleas - Family Division, defendant Scott Schollenberger, Jr. was awarded primary
physical custody and dedicated the principal caretaker of Maxwell Schollenberger.

14. At all relevant times material hereto Maxwell Schollenberger, decedent resided with
defendant Scott Schollenberger, Jr. and defendant. Kimberly Maurer in Lebanon County, PA
along with six (6) other minor children.

15. At all relevant times material hereto Maxwell Schollenberger, decedent was held
captive in a locked darkened room without sufficient access to food, water, or a bathroom facility for
prolonged periods of time by defendant Scott Schollenberger, Jr. and defendant Kimberly Maurer.

16. At all relevant times material hereto Maxwell Schollenberger, decedent was
subjected to physical abuse and torture by defendant Scott Schollenberger, Jr. and defendant
Kimberly Maurer.

17. At all relevant times material hereto Maxwell Schollenberger, decedent was subjected
to starvation and dehydration by defendant Scott Schollenberger, Jr. and defendant Kimberly
Maurer.

18. On May 26, 2020, the lifeless body of Maxwell Schollenberger, decédent was discovered
in the Lebanon County, PA residence of defendant Scott Schollenberger, Jr. and defendant

Kimberly Maurer by law enforcement authorities in a locked, dark bedroom, covered in

feces.
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 7 of 56

19. The Lebanon County Medical Examiner & Coroner determined the death of twelve (12)
year-old Maxwell Schollenberger, decedent was caused by blunt force head trauma, complicated by
conditions of starvation and dehydration.

20. Defendant Scott Schollenberger, Jr. and defendant Kimberly Maurer have been
arrested, charged by law enforcement authorities with the homicide in the death of twelve (12)
year-old Maxwell Schollenberger, and remain incarcerated as pre-trial detainees pending an upcoming
criminal trial.

THE REPORTING OF SUSPECTED CHILD ABUSE OF MAXWELL SCHOLLENBERGER TO
THE LEBANON COUNTY CHILDREN AND YOUTH SERVICES AGENCY

21. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

22. In the calendar years of 2010, defendant Scott Schollenberger, Jr. and defendant
Kimberly Maurer resided in Robésonia, PA (Berks County) along with Maxwell Schollenberger, decedent
and six (6) other minor children.

23. In the calendar year of 2010, Ms. Lorie Schollenberger and Mr. Scott
Schollenberger, Sr. resided in Robesonia, PA (Berks County).

24. Ms. Lorie Schollenberger and Mr. Scott Schollenberger, Sr. are the parental
grandparents of Maxwell Schollenberger, decedent.

25. In the calendar year of 2010, then (3%) year-old Maxwell Schollenberger, decedent was
undergoing toilet training and leaming to recognize the sensation in his body signaling a need to use the
commode.

26. In the calendar year of 2010, Ms. Lorie Schollenberger made an unannounced visit to
the residence of defendant Scott Schollenberger, Jr. and defendant Kimberly Maurer in Robesonia,

PA (Berks County) to visit with Maxwell Schollenberger, decedent.
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 8 of 56

27. Upon entering the residence of defendant Scott Schollenberger, Jr. and defendant
Kimberly Maurer in the calendar year of 2010, Ms. Lorie Schollenberger was confronted by a
menacing defendant Kimberly Maurer who held a large metal serving spoon as if it were an instrument
of crime.

28. During the aforementioned 2010 visit, defendant Kimberly Maurer conveyed to Ms.
Lorie Schollenberger that she had “corrected” Maxwell Schollenberger, decedent, by striking him
repeatedly on the bare legs and buttock with a metal serving spoon and condemned the child to a prolonged
period of isolation as a result of the (3 4) year-old child having defécated in his pants.

29. On the day of the aforementioned 2010 visit, defendant Kimberly Maurer conveyed to
Ms. Lorie Schollenberger, while a holding large metal serving spoon as if it were an instrument of
crime, that “he is going to learn”.

30. Maxwell Schollenberger, decedent was not within sight of Ms. Lorie Schollenberger
during the 2010 visit, nor would defendant Kimberly Maurer permit Ms. Lorie Schollenberger
to view the child’s condition.

31. As a result of the events of the aforementioned 2010 visit, Ms. Lorie Schollenberger
suspected her grandson, Maxwell Schollenberger, decedent, was being subjected to child abuse by
defendant Kimberly Maurer.

32. Upon returning to her home from the aforementioned 2010 visit, Ms. Lorie
Schollenberger relayed her concem to her husband Mr. Scott Schollenberger, Sr. that their
grandson, Maxwell Schollenberger, decedent, was being subjected to child abuse by defendant Kimberly
Maurer.

33. In the same 2010 evening, Ms. Lorie Schollenberger and her husband Mr.

Scott Schollenberger, Sr. confronted defendant Scott Schollenberger, Jr. with the concern
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 9 of 56

that Maxwell Schollenberger, decedent, was being subjected to child abuse by defendant Kimberly
Maurer.

34. In the calendar year of 2011, Ms. Lorie Schollenberger made an unannounced visit to
the residence of defendant Scott Schollenberger, Jr. and defendant Kimberly Maurer in Robesonia,
PA (Berks County) to deliver items she had purchased on behalf of her grandchildren.

35. Upon entering the residence of defendant Scott Schollenberger, Jr. and defendant
Kimberly Maurer during her unannounced 2011 visit, Ms. Lorie Schollenberger observed her
grandson Maxwell Schollenberger, decedent, standing alone with his face buried into a comer of the walls of
the home’s living room without clothes on the lower portion of his body.

36. Ms. Lorie Schollenberger’s observation of the bare legs and buttocks of her grandson
Maxwell Schollenberger, decedent, during her unannounced 2011 visit revealed they were marked with
abrasions, bruising, discoloration, and swelling consistent with having been struck repeatedly
with a hard object or weapon.

37. During the aforementioned unannounced 2011 visit, Ms. Lorie Schollenberger
encountered a menacing defendant Kimberly Maurer standing in the kitchen of the residence
holding a large metal serving spoon as if it were an instrument of crime.

38. During the aforementioned unannounced 2011 visit, Ms. Lorie Schollenberger
approached defendant Kimberly Maurer, grabbed the large metal serving spoon from the hand of
defendant Kimberly Maurer, and expressed to defendant Kimberly Maurer that this would be
the last time she would hurt Maxwell Schollenberger, decedent.

39. Upon returning to her home from the 2011 unannounced visit, Ms. Lorie
Schollenberger relayed to her husband, Mr. Scott Schollenberger, Sr., her witness of their

grandson Maxwell Schollenberger, decedent being subjected to child abuse by defendant Kimberly
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 10 of 56

Maurer.

40. The same evening of the 2011 unannounced visit, Ms. Lorie Schollenberger
and her husband, Mr. Scott Schollenberger, Sr., came into contact with defendant Scott
Schollenberger, Jr. and defendant Kimberly Maurer driving on the roadway in a vehicle occupied by
their grandson Maxwell Schollenberger, decedent, and other children.

41. Defendant Scott Schollenberger, Jr. stopped the vehicle for a brief period of
time and informed Ms. Lorie Schollenberger and Mr. Scott Schollenberger, Sr. that this would
be the last time they would see their grandson, Maxwell Schollenberger, decedent.

42. Shortly thereafter, defendant Scott Schollenberger, Jr. and defendant Kimberly
Maurer moved from Robesonia, PA 19551 (Berks County) along with Maxwell Schollenberger,
decedent, and the six (6) other minor children without providing Ms. Lorie Schollenberger or Mr.
Scott Schollenberger, Sr. with notice of their intention to move or future whereabouts.

43. In the calendar year of 2015, Ms. Lorie Schollenberger and her husband Mr. Scott
Schollenberger, Sr. received information from Ms. Megan (Demby) Schollenberger that
defendant Scott Schollenberger, Jr. and defendant Kimberly Mauer resided on Chestnut
Street, Lebanon, PA (Lebanon County) along with Maxwell Schollenberger, decedent, and the six
(6) other minor children.

44, Ms. Megan (Demby) Schollenberger is a divorced spouse of defendant Scott
Schollenberger, Jr., and the mother of one of defendant Scott Schollenberger, Jr.’s children.

45. In the calendar year of 2015, Ms. Megan (Demby) Schollenberger expressed
concern to Ms. Lorie Schollenberger that she suspected that Maxwell Schollenberger,
decedent was being held captive in a locked room for prolonged periods of time by defendant

Scott Schollenberger, Jr. and defendant Kimberly Mauer.
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 11 of 56

46. In the calendar year of 2015, a distraught Ms. Lorie Schollenberger contacted the
Lebanon County Children and Youth Services agency by telephone to lodge a report of her
concern that her grandson, Maxwell Schollenberger, decedent, was being subjected to child
abuse.

47. Ms. Lorie Schollenberger’s telephone call to the Lebanon County Children and
Youth Services agency lead to her speak with a Lebanon County Children and Youth
Services intake worker.

48. During Ms. Lorie Schollenberger’s telephone call with the Lebanon County
Children and Youth Services intake worker the communication touched upon the subject
matter of the whereabouts of Maxwell Schollenberger, decedent.

49. Immediately upon the communication touching upon the subject matter of the
whereabouts of Maxwell Schollenberger, degedent, the Lebanon County Children and Youth
Services intake worker interrupted Ms. Lorie Schollenberger’s mid-sentence, indicated that
she was without authority to confirm or deny the whereabouts of the child or whether the
child had been removed from the home and terminated the call.

50. Minutes after the Lebanon County Children and Youth Services intake worker
prematurely terminated Ms. Lorie Schollenberger’s telephone her telephone call, a distraught
Ms. Lorie Schollenberger, again, telephoned the Lebanon County Children and Youth
Services agency by telephone to report suspected child abuse.

51. Ms. Lorie Schollenberger’s second telephone call to the Lebanon County
Children and Youth Services agency, again, lead to her speak with a Lebanon County
Children and Youth Services intake worker.

52. During Ms. Lorie Schollenberger’s second telephone call with the Lebanon
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 12 of 56

County Children and Youth Services intake worker the communication again touched upon
the subject matter of the whereabouts of Maxwell Schollenberger, decedent.

53. Immediately upon the second communication touching upon the subject matter
of the whereabouts of Maxwell Schollenberger, decedent, the Lebanon County Children and
Youth Services intake worker interrupted Ms. Lorie Schollenberger’s mid-sentence,
indicated that she was without authority to confirm or deny the whereabouts of the child or
whether the child had been removed from the home and terminated the call.

54. | The day following her two previous phone calls to the Lebanon County Children
and Youth Services agency, a distraught Ms. Lorie Schollenberger again contacted the
Lebanon County Children and Youth Services agency by telephone, spoke to a Lebanon
County Children and Youth Services agency female intake worker, plead with the employee
not to terminate the call, lodged a report that she suspected her grandson, Maxwell
Schollenberger, decedent, was a victim of child abuse, and provided the employee with her
contact information.

55. Ms. Lorie Schollenberger received no information or instruction from the
Lebanon County Children and Youth Services agency during the phone calls when she
lodged a direct report of child abuse.

56. Ms. Lorie Schollenberger received no information or instruction from the
Lebanon County Children and Youth Services agency after she lodged the telephone calls to
the Lebanon County Children and Youth Services agency that she suspected her grandson,
Maxwell Schollenberger, decedent, was a victim of child abuse.

57. Ms. Lorie Schollenberger received no contact from the Lebanon County

Children and Youth Services agency after she lodged the telephone calls to Lebanon County

10
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 13 of 56

Children and Youth Services agency that she suspected her grandson, Maxwell Schollenberger,
decedent, was a victim of child abuse.

58. Upon receipt of the direct reports of suspected child abuse of Maxwell Schollenberger,
decedent by Ms. Lorie Schollenberger, the Lebanon County Children and Youth Services did not ensure
the safety of the child or the children in the home.

59. Upon receipt of the direct reports of suspected child abuse of Maxwell Schollenberger,
decedent by Ms. Lorie Schollenberger, the Lebanon County Children and Youth Services did not
immediately commence an investigation of the suspected child abuse.

60. Upon receipt of the direct reports of suspected child abuse of Maxwell Schollenberger,
decedent by Ms. Lorie Schollenberger, the Lebanon County Children and Youth Services did not make a
home visit to see if Maxwell Schollenberger, decedent was suspected to be at risk.

61. On or about May 26, 2020, Ms. Megan (Demby) Schellenberger notified Ms.
Lorie Schollenberger through a text message that Maxwell Schollenberger, decedent was
discovered dead in the residence of defendant Scott Schollenberger, Jr. and defendant
Kimberly Maurer located in Annville, PA (Lebanon County).

THE HISTORY OF DEFENDANT COUNTY OF LEBANON’S FAILURE TO
PROVIDE A REASONED RESPONSE TO REPORTS OF SUSPECTED CHILD

ABUSE THROUGH THE INSTRUMENTALITY OF ITS AGENCY LEBANON
COUNTY CHILDREN AND YOUTH SERVICES

 

62. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

63. Pursuant to the provisions of 55 Pa. Code § 3490.232 [relating to Receiving Reports and
Assessing the Need for Services] the Lebanon County Children and Youth Services agency is the sole civil
agency responsible for receiving and assessing all reports alleging a need for general protective services for

children-at-risk in Lebanon County.

11
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 14 of 56

64. At all relevant times material hereto pursuant to the provisions of The Pennsylvania Child
Protective Services Law, 23 PaC.S.A. § 6373 [relating to General Protective Services Responsibilities of
County Agency] Lebanon County Children and Youth Services agency was responsible for administering a
program of general protective services to children and youth that is consistent with the objectives of, among
others, preventing abuse, neglect and exploitation of children.

65. At all relevant times material hereto pursuant to the provisions of The Pennsylvania Child
Protective Services Law, 23 Pa.C.S.A. § 6361, et sec. [relating to Responsibilities of Child Protective Services]
the Lebanon County Children and Youth Services agency’s response, to direct reports of suspected child abuse

from an individual, to ensure the safety of the child-at-risk was mandatory.

No Reasoned Response Undertaken by The Lebanon County Children and Youth Services to

 

66. On January 12, 2016, a 4-month-old male child died as a result of serious physical abuse and
neglect.

67. On the day of the child’s passing, the 4-month-old male child’s biologic father was the sole
caretaker for both the child and his siblings while the mother was at work from 3:00 pm until 9:30 pm.

68. On January 12, 2016, emergency medical personnel were dispatched to the child’s home
after the parents contacted 911 with concems that the child was unresponsive.

69. On January 12, 2016, the 4-month-old male child was pronounced dead at the scene and
transported to Penn State Health Milton S. Hershey Medical Center.

70. | Medical providers of Penn State Health Milton S. Hershey Medical Center
documented the body of the 4-month-old male child presented left side rib fractures that were believed to be
six to eight weeks old, a possible acute right side rib fracture and a compression fracture on the left side from

severe trauma with no time frame established for when these injuries would have occurred.

12
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 15 of 56

71. Medical providers of Penn State Health Milton S. Hershey Medical Center
documented the parents of the 4-month-old male child did not provide any explanation for the child’s
injuries,

72. Medical providers of Penn State Health Milton S. Hershey Medical Center
indicated the 4-month-old male child died from asphyxiation.

73. The family was previously known to Lebanon County Children and Youth Services between
April 2013 and November 2015.

74, During the time period between April 2013 and November 2015, Lebanon County Children
and Youth Services received four (4) reports of suspected child abuse and concems inclusive of (i)
inappropriate discipline being used on the children; (2) the child’s half-sibling was being physically abused;
and (3) domestic violence in the home.

75. None of the prior reports of suspected child abuse and concems were substantiated by
Lebanon County Children and Youth Services and all of the referrals were closed out without services being
provided or recommended to the family.

76. As a result of the Lebanon County Children and Youth Services having failed to provide a
reasoned response to suspected child abuse, the 4-month-old male child was caused to suffer unnecessary and

preventable abuse and death on January 12, 2016.

No Reasoned Response Undertaken by The Lebanon County Children and Youth Services to

 

77. On July 14, 2017, a 10-month-old female child nearly died as a result of serious physical
abuse and neglect.
78. The family of the 10-month-old female child was known to Lebanon County Children and

Youth Services prior to July 14, 2017, and a case worker assigned to provide protective services to the family.

13
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 16 of 56

79. Inor about December 2016, a child protective services report was received resulting in both
of the victim child’s parents being indicated for creating a reasonable likelihood of bodily injury.

80. In or about February 2017, the case was accepted for services by the Lebanon County
Children and Youth Services due to the 10-month-old female child’s mother’s instability and actions.

81. In March 2017, the 10-month-old female child was informally placed in the custody of the
matemal grandparents by the Lebanon County Children and Youth Services.

82. In or about March 2017, two separate child protective services reports were lodged and
received by the Lebanon County Children and Youth Services with concems for safety of the child and lack of
parental supervision.

83. None of the March 2017, aforementioned reports conveying concems for safety and lack of
supervision of the children were substantiated by Lebanon County Children and Youth Services.

84. Lebanon County Children and Youth Services determined the two reports conveying
concems for safety and lack of supervision of the children received in March 2017 unfounded.

85. On July 14, 2017, the matemal grandparents of the 10-month-old female child were the sole
caretakers for the child.

86. On July 14, 2017, the 10-month-old female child’s maternal uncle, who was under the age of
18, also lived in the home of the maternal grandparents.

87. On July 14, 2017, the 10-month-old female child’s maternal grandmother contacted the
victim child’s Lebanon County Children and Youth Services’ caseworker to inform the caseworker that she
was taking the child to the emergency room due to the child having difficulty breathing.

88.  OnJuly 14, 2017, emergency medical personnel were dispatched to the 10-month-old female
child’s home and the child was transported to a local hospital by ambulance.

89. Medical providers documented the 10-month-old female child presented a moderate

14
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 17 of 56

sized left pneumothorax, liver lacerations, spleen lacerations, a right adrenal hematoma, patchy areas of
hypoattenuation in her right kidney (suspicious for solid organ injury), and moderate volume complex
hemorthagic ascites.

90. Medical providers documented the 10-month-old female child presented three large
subdural brain hemorthages, bilateral retinal hemorrhaging, bruises to the face and head, and an injury to the
cervical area of the spine.

91. | Medical providers documented that all of injuries suffered the 10-month-old female child
were believed to be due to nonaccidental trauma.

92. Medical providers documented the matemal grandmother noted that the victim child had
been lethargic for several days prior to being taken to the hospital.

93. A post-injury investigation revealed the matemal grandmother had left the child in the care of
child’s minor matemal uncle on July 14, 2017.

94. A post-injury investigation revealed an admission of the 10-month-old female child’s minor
matemal uncle that on July 14, 2017, he vigorously shook and squeezed the child to make her stop crying.

95. A post-injury investigation revealed the matemal grandmother was aware the 10-month-old
female child’s minor maternal uncle had anger issues, but continued to assign minor matemal uncle the duty to
babysit the child daily.

96. As a result of the Lebanon County Children and Youth Services having failed to provide a
reasoned response and sufficient services to the multiple reports conveying concems for safety and lack of
supervision of the children the 10-month-old female child was caused to suffer unnecessary preventable abuse

and near-death injunes on July 14, 2017.

15
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 18 of 56

No Reasoned | Response Undertaken byT The © Iebanon te Children and Youth Services to The

 

97. On May 20, 2018, a 1-month-old male child died as a result of serious physical abuse and
neglect.

98. On the day of the child’s passing, the 1-month-old male child’s biologic father was the
caretaker of the child. |

99. On May 20, 2018, upon report the child was discovered face down dead in his crib.

100. Medical examiners determined the child died by asphyxiation.

101. The family of the 1-month-old male child was previously known to Lebanon County
Children and Youth Services.

102. The family of the 1-month-old male child was previously known to Lebanon County
Children and Youth Services prior to May 20, 2018, and a case worker assigned to provide protective services
to the family.

103. In or about January 2018, Lebanon County Children and Youth Services received a general
protective services referral alleging concems for inadequate food, clothing, and hygiene.

104. Lebanon County Children and Youth Services determined the January 2018, reports
conveying concems for inadequate food, clothing, and hygiene founded.

105. Services were provided to the family by the Lebanon County Children and Youth Services as
a result of the January 2018, referral.

106. As a result of the Lebanon County Children and Youth Services having failed to provide a
reasoned response and sufficient services in response to the January 2018 general protective services referral
alleging concems for inadequate food, clothing, and hygiene the 1-month-old male child was caused to suffer

unnecessary preventable abuse and death May 20, 2018.

16
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 19 of 56

No Reasoned Response Undertaken by The Lebanon County Children and Youth Services to The
orts-of Suspected Child of A 1-Month Old F i 2

      

107. On June 16, 2019, a 1-month-old female child died as a result of physical abuse.

108. On June 16, 2019, the day of the 1-month-old female child’s passing, the child’s biologic
father was the caretaker of the child.

109. On June 16, 2019, emergency medical personnel were dispatched to the child’s home upon
report the 1-month-old female child was discovered face down in her crib and unresponsive and the child was
transported to a local hospital by ambulance.

110. The medical providers’ attempts to resuscitate the 1-month-old female child were
unsuccessful and the child was pronounced dead.

111. The family ofthe 1-month-old female child was previously known to child welfare.

112. The family of the 1-month-old female child was previously known to Lebanon County
Children and Youth Services prior to June 16, 2019, and a case worker assigned to provide protective services
to the family.

113. In or about October 2018, Lebanon County Children and Youth Services received a general
protective services referral conveying concems of parents causing bodily injury.

114. The October 2018, report of suspected child abuse was determined founded, but services
were already being provided .by Lebanon County Children and Youth Services at the time the October 2018
referral was received.

115. In or about May 2019, Lebanon County Children and Youth Services received a general
protective services referral alleging parenting concems.

116. The May 2019, report of suspected child abuse or neglect was determined. founded but
services were already being provided by Lebanon County Children and Youth Services at the time the May

2019, referral was received.

17
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 20 of 56

117. Asa result of the Lebanon County Children and Youth Services having failed to provide a
reasoned response and sufficient services to the multiple reports of suspected child abuse and neglect the 1-
month-old female child was caused to suffer unnecessary preventable abuse and death on June 16, 2019.

No Reasoned Response Undertaken by The Lebanon County Children and Youth Services
To The Direct Reports of Suspected Child Abuse of the Duncan Children Made By

118. In or about the calendar year 2019, Mr. Robert Duncan and Ms. Stephanie Duncan
resided on Cedar Run Road, Lebanon, PA 17046 (Lebanon County) along with their five (5) adopted
minor children.

119. | The home in which the Duncan family resided on Cedar Run Road, Lebanon, PA 17046
(Lebanon County) was reported to have a living space equal to 912 square feet.

120. In or about the calendar year 2019, neighbors of the Duncan family witnessed Ms.
Stephanie Duncan abuse her adoptive children by condemning them to prolonged periods of
exposure to the extreme cold of outside temperatures and the dangers of hypothermia without proper
clothing.

121. In or about the calendar year 2019, neighbors of the Duncan family witnessed Ms.
Stephanie Duncan abuse her adoptive children by condemning them to prolonged periods of
exposure to extreme heat of outside temperatures, sun, and the dangers of dehydration and heat stroke
without proper clothing.

122. In or about the calendar year 2019, neighbors of the Duncan family witnessed Ms.
Stephanie Duncan abuse her adoptive children by intentionally locking a child out of the house, alone,
and refusing to allow the child to enter the home for hours on end, all the while as the child cried hysterically

and repeatedly begged to be let into the security of the home.

18
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 21 of 56

123. In or about the calendar year 2019, neighbors of the Duncan family witnessed Ms.
Stephanie Duncan and Mr. Robert Duncan abuse the children with demeaning, vulgar, and
threatening language and behavior directed toward the children.

124. Inor about the calendar year 2019, neighbors of the Duncan family believed Ms. Stephanie
Duncan and Mr. Robert Duncan were not capable of or otherwise failed to parent the children
sufficient to provide for the necessary care, protection, safety and wholesome mental and
physical development of the children.

125. In or about the calendar year 2019, multiple neighbors of the Duncan family reported
suspected child abuse of the Duncan children to the Lebanon County Children and Youth Services.

126. Despite the repeated and reliable reports of suspected child abuse of the Duncan children
having been made to the Lebanon County Children and Youth Services by neighbors of the Duncan family,
no reasoned response to the reports was provided by the Lebanon County Children and Youth Services.

127. Upon receipt of the direct reports of suspected child abuse made by neighbors of the Duncan
family, the Lebanon County Children and Youth Services responded by stating to the reporter that “if they're
not in danger there ain't nothing you can do about it".

128. Upon receipt of the direct reports of suspected child abuse of the Duncan children the
Lebanon County Children and Youth Services did not ensure the safety of the child or children in the home
suspected to be at risk.

129. Upon receipt of the direct reports of suspected child abuse of the Duncan children the

Lebanon County Children and Youth Services did not immediately commence an investigation of the

suspected child abuse.

19
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 22 of 56

130. Upon receipt of the direct reports of suspected child abuse of the Duncan children the
Lebanon County Children and Youth Services did not make a home visit to see the child or children suspected
to be at risk.

131. On January 13, 2021, some two (2) years after the reliable reporting of child
abuse of the Duncan children, Mr. Robert Duncan and Ms. Stephanie Duncan’s adopted 11-year-old
son was rushed to Penn State Health Milton S. Hershey Medical Center requiring immediate
medical! care after being unresponsive.

132. Medical providers of Penn State Health Milton S. Hershey Medical Center
diagnosed the | 1-year-old male child as suffering from severe dehydration, hypothermia, and
contusions on his neck, shoulders, back, abdomen, hip, and genitals.

133. Medical providers of Penn State Health Milton S. Hershey Medical Center
determined the condition of severe dehydration suffered by the 11-year-old male child was not
accidental and was caused by intentional deprivation of fluids.

134. Medical providers of Penn State Health Milton S. Hershey Medical Center
determined the condition of hypothermia suffered by the 11-year-old male child was not
accidental and caused by an intentional prolonged exposure to the extreme cold.

135. Medical providers of Penn State Health Milton S. Hershey Medical Center
determined the multiple contusions presenting on the 11-year-old male child’s body were a direct
result of trauma.

136. <A child abuse investigation arose as a result of the 11-year-old male child’s
January 13, 2021, hospitalization which revealed:

(a) Prior to the 11-year-old victim’s hospitalization, the child was held captive

isolated in a locked bedroom and deprived of water for days;

20
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 23 of 56

(b) ‘The 11-year-old victim room in which the child was held captive was
locked with a hook and eye lock to prevent the child from being freed;

(c) Robert Duncan choked the 11-year-old victim to the point where the child
fell over and gasped for airs multiple times upon the basis of Robert Duncan discovering that the
11-year-old child was "stealing" water from the sink;

(d) The 11-year-old victim was rarely allowed to exit the locked bedroom
where he was held captive to use the bathroom and was forced to relieve himself in the bedroom;

(e) The 11-year-old victim was forced to wear a diaper;

(f) The 11-year-old victim was forced to clean up his body fluids and fecal
matter up with the use of bleach;

(g) If the 11-year-old victim complained about the bleach, the bleach was
poured onto the child’s head;

(h) The 11-year-old victim was forced to run in place;

(i) Authorities discovered that a bed located in children’s room had been staged, and in
actuality the children had been forced to sleep on the floor,

G) Cameras were installed in all of their children's bedrooms to permit
constant unreasonable invasive monitoring of their behaviors;

(k) The children were punished, if they slept inappropriately;

(l) The children were administered physical beatings by the adoptive parents;

(m) The children were required to watch the adoptive parents physically attack

one of the siblings in front of another.

21
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 24 of 56

137. Asa result of the Lebanon County Children and Youth Services having failed to provide a
reasoned response to the direct reports of suspected child abuse, the Duncan children were caused to suffer
unnecessary and preventable abuse and loss in 2019.

No Reasoned Response Undertaken by The Lebanon County Children and Youth Services to
The Direct Reports of Suspected Child Abuse Made by A Grandmother
Ms. Rosetta Bertoldo In 2019.

138. In or about the calendar year 2019, the minor grandchildren of Ms. Rosetta Bertoldo
resided in Lebanon County in the home of their single-parent and primary custodial mother.

139. In or about the calendar year 2019, Ms. Rosetta Bertoldo had knowledge and
information that caused her to reasonably believe that the single-parent mother of her

grandchildren was suffering from drug addiction and was permitting illicit drug activity to occur
in the residence.

140. In or about the calendar year 2019, Ms. Rosetta Bertoldo had knowledge and
information that caused her to reasonably believe that the single-parent mother of her
grandchildren was not incapable of or otherwise failed to parent her grandchildren sufficient to
provide for their necessary care, protection, safety and wholesome mental and physical
development.

141. In or about the calendar year 2019, concemed for the health and welfare of her
grandchildren, Ms. Rosetta Bertoldo reported suspected child abuse of her grandchildren to the Lebanon
County Children and Youth Services on 10 to 15 occasions.

142. On or about 2019, as a direct response to the abusive living environment, one of Ms.

Rosetta Bertoldo grandchildren attempted to take her own life by suicide.
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 25 of 56

143. Despite the repeated and reliable reports of suspected child abuse made to the Lebanon
County Children and Youth Services by Ms. Rosetta Bertoldo, no reasoned response to the reports was
provided by the Lebanon County Children and Youth Services.

144, Upon receipt of the direct reports of suspected child abuse of the grandchildren of Ms.
Rosetta Bertoldo, the Lebanon County Children and Youth Services did not ensure the safety of the child or
children in the home suspected to be at risk.

145. Upon receipt of the direct reports of suspected child abuse of the grandchildren of Ms.
Rosetta Bertoldo, the Lebanon County Children and Youth Services did not immediately commence an
investigation of the suspected child abuse.

146. Upon receipt of the direct reports of suspected child abuse of the grandchildren of Ms.
Rosetta Bertoldo, the Lebanon County Children and Youth Services did not make a home visit to see the
child or children suspected to be at risk.

147. Asa result of the Lebanon County Children and Youth Services having failed to provide a
reasoned response to the direct reports of suspected child abuse, the grandchildren of Ms. Rosetta
Bertoldo were caused to suffer unnecessary and preventable abuse and loss in 2019.

THE PROTECTIBLE PROPERTY INTEREST OF MAXWELL SCHOLLENBERGER
TO BE SAFEGUARDED FROM CHILD ABUSE OR NEGLECT

148. Plaintiff incorporates by reference the previous paragraphs of the Complaint as if set forth
fully hereto.

149. The provisions of The Pennsylvania Child Protective Services Law, 23 PaC.S.A. § 6368
[relating to Responsibilities of Child Protective Services] demonstrate a clear indication of legislative intent to
remove any discretionary authority a protective services agency, such as such as the Lebanon County Children

and Youth Services agency, may have had in connection with taking action sufficient to ensure the safety of a

23
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 26 of 56

child-at-risk of abuse and neglect upon its receipt of direct reports of suspected child abuse from an individual.

150. The provisions of The Pennsylvania Child Protective Services Law, 23 PaC.S.A. §6368
[relating to Responsibilities of Child Protective Services] demonstrate.a clear indication of legislative intent
that upon receipt of direct report of suspected child abuse by perpetrator from an individual to a protective
Services county agency responsible for receiving and assessing all reports alleging a need for general protective
services, the protective services county agency is under a mandatory obligation to ensure the safety of the at-
risk-child.

151. At all relevant times material hereto, pursuant to the provisions of The Pennsylvania Child
Protective Services Law, 23 Pa.C.S.A. § 6368 [relating to Responsibilities of Child Protective Services] the
direct report of suspected child abuse of Maxwell Schollenberger by a perpetrator made by Ms. Lorie
Schollenberger to the Lebanon County Children and Youth Services agency conferred a protectible property
interest in Maxwell Schollenberger to a reasoned agency response to ensure his safety.

152. At all relevant times material hereto upon the direct reporting. of suspected child abuse of
Maxwell Schollenberger by Ms. Lorie Schollenberger to the Lebanon County Children and Youth Services
agency, the provisions of 23 PaC.S.A. § 6368 [relating to Responsibilities of Child Protective Services]
conferred a protectible property interest of Maxwell Schollenberger to be safeguarded by the defendant
County of Lebanon from child abuse or neglect.

153. At all relevant times material hereto the provisions of The Juvenile Act 42 Pa.C.S. § 6301, et
seq., conferred upon Maxwell Schollenberger a clear Tight to be removed from the family setting and parental
custody of defendant Scott Schollenberger, Jr. and control of defendant Kimberly Maurer to

protect his welfare, safety and health.

24
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 27 of 56

SURVIVORS OF DECEDENT MAXWELL SCHOLLENBERGER
154, Plaintiff incorporates by reference the previous paragraphs of the Complaint as if set forth
fully hereto.
155. Decedent Maxwell Schollenberger has left surviving him the following persons:
(a) Ms. Sara Coon, parent, biologic mother and Administrator of the Estate of Maxwell
Schollenberger, deceased;
(b) Ms. Scott Schollenberger, Jr., parent, biologic father,
(c) Ms. Lorie Schollenberger, patemal step-grandmother,
(@) = Mr. Scott Schollenberger, Sr. patemal grandfather,
(e) Alexa Krause, half-sibling;
(f) Cameron Schollenberger half-sibling.
156. There has been no action brought by the plaintiff's decedent during his lifetime upon the

allegations set forth within the body of this Complaint.

 

COUNT I
VIOLATIONS OF CIVIL RIGHTS — 42 U.S.C.A. §1983
PROCEDURAL DUE PROCESS — FOURTEENTH AMENDMENT
MUNICIPAL LIABILITY
(Sara Coon, Administratrix of the Estate of Maxwell Schollenberger v County-of Lebanon)

157. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

158. Plaintiff, as Administrator of the Estate of Maxwell Schollenberger, deceased, brings the
instant action, and those to follow, on behalf of the aforementioned statutory beneficiaries pursuant to and by
virtue of the Pennsylvania Wrongful Death Act, 42 Pa.C.S.A. § 8301, to recover all damages recoverable
under the Pennsylvania Wrongful Death Act.

159. At all material times relevant hereto defendant County of Lebanon was person within the

25
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 28 of 56

meaning of 42 U.S.C.A. § 1983.

160. At all material times relevant to the subject matter described in this Complaint defendant
County of Lebanon acted under the color of state law.

161. At all relevant times material hereto, pursuant to the provisions of 55 Pa. Code § 3490.232
[relating to Receiving Reports and Assessing the Need for Services] the defendant County of Lebanon,
through the instrumentality of its agency Lebanon County Children and Youth Services, was the sole civil
agency responsible for receiving and assessing all reports alleging a need for general protective services.

162. At all relevant times material hereto, pursuant to the provisions of The Pennsylvania Child
Protective Services Law, 23 Pa.C.S.A. § 6368 [relating to Responsibilities of Child Protective Services] the
defendant County of Lebanon possessed the statutory authority to administer child protective services to
ensure the welfare of children residing within the County of Lebanon who were reported as at-risk of being
subjected to child abuse or neglect.

163. At all relevant times material hereto, the defendant County of Lebanon possessed the
capability to ensure the welfare of children residing within the County of Lebanon who were reported at-risk
of being subjected to child abuse or neglect.

164. At all relevant times material hereto, pursuant to the provisions of The Pennsylvania Child
Protective Services Law, 23 PaC.S.A. § 6368 [relating to Responsibilities of Child Protective Services] upon
the direct reporting of suspected child abuse of Maxwell Schollenberger by Ms. Lorie Schollenberger
defendant County of Lebanon owed a statutorily mandated duty to ensure the safety of and to protect Maxwell
Schollenberger from child abuse or neglect.

165. At all relevant times material hereto, defendant County of Lebanon was responsible for
safeguarding Maxwell Schollenberger’s property right of personal security to be protected from child abuse

and neglect.

26
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 29 of 56

166. At all relevant times material hereto, defendant County of Lebanon knew or reasonably
should have known that Maxwell Schollenberger, decedent, was unable to physically protect himself from
child abuse and neglect.

167. At all relevant times material hereto, defendant County of Lebanon knew or reasonably
should have known that it was foreseeable and almost certain that Maxwell Schollenberger, decedent, would
suffer injury, harm, or death if it did not provide a reasoned response to the reporting of suspected child abuse

and ensure the child’s safety.

Unconstitutional Policy, Practice, Or Custom of Defendant County of of Lebanon 8 to Respond

 

168. At all relevant times material hereto, defendant County of Lebanon, by and through its final
policy makers, inclusive of Ms. Erin M. Moyer, had in force and effect at an unconstitutional policy, practice,
or custom relating to actions to be taken by Lebanon County Children and Youth Services in response to
reports of suspected child abuse and neglect.

169. Defendant County of Lebanon final policy makers developed and maintained policies,
customs, or practices exhibiting deliberate indifference to the property right of personal security to be protected
from child abuse and neglect and procedural due process constitutional rights of persons such as plaintiff's
decedent Maxwell Schollenberger which caused plaintiff's decedent Maxwell Schollenberger to suffer a
violation of rights, injury and loss.

170. At all relevant times material hereto, upon receiving reliable direct or referred reports of
suspected child abuse by a perpetrator, it was the policy, custom, or practice of the defendant the County of
Lebanon, acting through the instrumentality of its agency Lebanon County Children and Youth Services, to
inadequately and untimely respond to the reports sufficient to ensure the safety of at-risk-children.

171. With a deliberate indifference to the constitutional rights of the plaintiff's decedent

27
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 30 of 56

Maxwell Schollenberger, the deferidant County of Lebanon, acting through the instrumentality of its agency,
Lebanon County Children and Youth Services, upon receiving reliable direct or referred reports of suspected
child abuse by a perpetrator, operated under a policy, or practice and custom in the following respects:

(a) Failing to take appropriate action to ensure the safety of the children and any other
child residing in the suspect home;

(b) Failing to implement standards of operation which required a response to the report
of suspected child abuse; |

(c) Failing to implement standards of operation which required the undertaking of a
reasoned investigation of a report of suspected child abuse;

(d) __ Failing to implement standards of operation which included clear, unambiguous, and
objective mandatory responses to a report of suspected child abuse;

(e) Implementing standards of operation which permitted the exercise of arbitrary,
capricious, and inconsistent discretion in response to a report of suspected child abuse;

(f) Failing to implement standards of operation sufficient to ensure for the care,
protection, safety and wholesome mental and physical development of at-risk-children;

(g) Failing to implement standards of operation sufficient to monitor the welfare of at-
tisk-children to ensure for their care, protection, safety and wholesome mental and physical development;

(h) Failing to implement standards of operation sufficient to provide home visits of at-
risk-children to ensure for their care, protection, safety and wholesome mental and physical development;

(i) Failing to implement standards of operation sufficient to provide social services to
families of identified at-risk-children sufficient to ensure for the care, protection, safety and wholesome mental

and physical development of the children.

28
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 31 of 56

Defendant County of Lebanon’s Failure to Train Employees to 0 Respond to Reports of Suspected
il

 

172. At all relevant times material hereto, defendant County of Lebanon, by and through its final
policy makers, inclusive of Ms. Erin M. Moyer, it was the policy, custom, or practice of the defendant County
of Lebanon, acting through the instrumentality of its agency Lebanon County Children and Youth Services, to
inadequately and improperly train its employees to recognize and effectively respond to direct and referred
reports of suspected child abuse and neglect.

173. _ Final policymakers for the defendant County of Lebanon had actual or constructive notice of
the existence of a pattem of untrained employees failing to take action sufficient to ensure the safety of
children-at-risk upon receipt of direct or referred reports of suspected child abuse or neglect.

174. Despite final policymakers for the defendant County of Lebanon’s actual or constructive
notice of the unconstitutional practice of employees failing to take action sufficient to ensure the safety of
children-at-risk upon receipt of direct or referred reports of suspected child abuse or neglect, defendant County
of Lebanon repeatedly failed to take appropriate action to effectively train its employees to sufficiently respond
to reports of suspected child abuse or neglect.

175. With a deliberate indifference to the constitutional rights of the plaintiff's decedent
Maxwell Schollenberger the defendant County of Lebanon, acting through the instrumentality of its agency
Lebanon County Children and Youth Services, operated without implementing a training curriculum to
educate and prepare Lebanon County Children and Youth Services employees to effectively respond to
reports of suspected child abuse or neglect in the following respects:

(a) Failing to train employees that response to reports of suspected child abuse or neglect
is mandatory and not discretionary;
(b) Failing to provide training to employees sufficient to equip the employees to

effectively manage the emotions of an individual who provides a direct report of child abuse;

29
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 32 of 56

(c) Failing to provide training to employees sufficient to equip the employees to collect
the sufficient facts of concemed behavior from an individual reporter who provides a direct report of child
abuse;

(d) Failing to provide training to employees sufficient to equip the employees to
effectively respond to an uninformed and distraught individual reporter of suspected child abuse;

(e) Failing to provide training sufficient to educate upon the different types of child
abuse and neglect;

(f) Failing to provide training to employees sufficient to equip the employees to
recognize signs of child abuse and neglect;

(g) Failing to provide training to employees sufficient to equip the employees to detect
child abuse and neglect; |

(h) Failing to provide training sufficient to educate upon the appropriate response to
reports of suspected child abuse;

| (i) Failing to provide training to employees sufficient to equip the employees to decide
upon the appropriate response to reports of suspected child abuse sufficient to ensure the safety of at-risk-
children;

(j) Failing to provide training sufficient to educate upon the appropriate response to
prevent child abuse;

(k) Failing to provide training sufficient to educate upon aN objective procedure to be
followed in response to reports of suspected child abuse.

176. Final policymakers for the defendant County of Lebanon knew or reasonably should have
known that a failure to train and prepare employees to effectively respond to reports of suspected child abuse

sufficient to ensure the safety of the child-at-risk would result in a likelihood of employees making wrong and

30
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 33 of 56

improper decisions and exposing vulnerable children to an increased risk of danger.

 

177. At all relevant times material hereto, defendant County of Lebanon, by and through its final
policy makers, inclusive of Ms. Erin M. Moyer, acquiesced to the unconstitutional practice of employees
failing to respond to direct and referred reports of suspected child abuse and neglect sufficient to ensure the
safety of children-at-risk.

178. With a deliberate indifference to the constitutional rights of the plaintiff's decedent
Maxwell Schollenberger the defendant County of Lebanon, acting through the instrumentality of its agency
Lebanon County Children and Youth Services, upon receiving reliable direct or referred reports of suspected
child abuse by a perpetrator operated under a policy, or practice and custom of acquiescing to the misconduct
of employees’ failure to respond to reports of suspected child abuse sufficient to ensure the safety of the at-
risk-child in the following respects:

(a) Ignored, systemic pattems of employee misconduct who failed to sufficiently
respond to reports of suspected child abuse;

(b) Failed to properly sanction or discipline employees who failed to sufficiently respond
to reports of suspected child abuse;

(c) Failed to properly sanction or discipline employees who concealed their
inappropriate and insufficient response to reports of suspected child abuse;

(d) Created an environment which employees would reasonably believe that their
actions would not be properly monitored by supervisors and that misconduct would not be investigated or

sanctioned, but would be tolerated.

31
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 34 of 56

Defendant County of Lebanon’s Inadequate Supervision and Discipline of Employees
Who Failed to Respond to Reports of Suspected Child Abuse and Neglect Sufficient

 

179. At all relevant times material hereto, defendant County of Lebanon, by and through its final
policy makers, inclusive of Ms. Erin M. Moyer, acting through the instrumentality of its agency Lebanon
County Children and Youth Services, operated under a policy, practice or custom of failing to supervise and
discipline employees who did not respond to reports of suspected child abuse sufficient to ensure the safety of
children-at-risk.

180. With a deliberate indifference to the constitutional rights of the plaintiff's decedent
Maxwell Schollenberger, it has been the policy, custom, or practice of the defendant County of Lebanon,
acting through the instrumentality of its agency Lebanon County Children and Youth Services, to inadequately
supervise, discipline or sanction employees who failed to respond to reports of suspected child abuse and
neglect sufficient to protect children-at-risk in the following respects:

(a) Failing to implement standards of operation to provide for the effective onsite
supervision of employees to ensure that the employees on duty were competently responding to reports of
suspected child abuse sufficient to ensure the safety of at-risk-children;

(b) Failing to implement standards of operation sufficient to permit oversight of a
subordinate’s response to reports of suspected child abuse;

(c) Failing to implement standards of operation sufficient to monitor a subordinate’s
response to reports of suspected child abuse;

(d) Failing to effectively review a subordinate’s response to reports of suspected child
abuse;

(e) Failing to take’ appropriate disciplinary or other corrective action with respect to

employees whom did not sufficiently respond to reports of suspected child abuse;

32
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 35 of 56

() Failing to implement standards of operation which timely addressed an employee’s
failure to respond to reports of suspected child abuse;

(g) Failing to implement standards of operation which provided for consistent, rational,
and meaningful discipline of employees who failed to respond to reports of suspected child abuse;

(h) Failing to implement standards of operation which ensured that employees who
failed to perform duties were sufficiently discipline to deter future similar misconduct;

(i) Created an environment which employees would reasonably believe that their
actions would not be properly monitored by supervisors and that misconduct would not be investigated or
sanctioned, but would be tolerated.

181. _ Policy-makers of the defendant County of Lebanon responsible for establishing a final policy
with respect to safeguarding the property rights of children-at-risk to personal security and to be protected from
child abuse and neglect exercised a deliberate choice to follow a course of action, from among various
alternatives, which caused plaintiff's decedent Maxwell Schollenberger to suffer a deprivation of the right not
to be deprived of property without procedural due process protected by the Fourteenth Amendment of the
United States Constitution.

182. As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies plaintiff's decedent Maxwell Schollenberger was caused to suffer a deprivation
of the right to procedural due process protected by the Fourteenth Amendment of the United States
Constitution.

183. The aforementioned customs, practices, or policies under which the defendant County of
Lebanon operated and/or operates was the fairly direct cause of the death of plaintiff's decedent Maxwell
Schollenberger indicated by blunt force head trauma, complicated by conditions of starvation and dehydration.

184. As a direct and proximate result of the defendant County of Lebanon’s aforementioned

33
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 36 of 56

customs, practices, or policies plaintiff's decedent Maxwell Schollenberger was caused to suffer death
indicated by blunt force head trauma, complicated by conditions of starvation and dehydration.

185. As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies the plaintiff and statutory beneficiaries were caused to incur funeral, burial, and
estate administration expenses associated with the death of the decedent.

186. As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies the plaintiff and statutory beneficiaries were caused to suffer the loss of any
contribution she and the remaining family of the decedent would have received from the decedent but for his
death, including amounts of money for such items as shelter, food, clothing, medical care, education,
entertainment, gifts and recreation.

187. As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies the plaintiff and statutory beneficiaries were caused to suffer the loss of the
monetary value of all sums that the decedent would have contributed to the support of his family during his
reasonable life expectancy.

188. As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies the plaintiff and statutory beneficiaries were caused to suffer the loss of the
monetary value of the companionship, comfort, society, guidance, solace and protection that the decedent
would have given to his family during his reasonable life expectancy.

189. As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies the plaintiff and statutory beneficiaries were caused to suffer grief damages

190, As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies the plaintiff and statutory beneficiaries have been caused to incur attomey’s fees

and costs prosecuting this matter.

34
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 37 of 56

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant County of Lebanon, jointly and severally, and
the relief which follows:

1. That plaintiff be awarded compensatory damages as proven;

IL. That plaintiff be awarded reasonable attorney’s fees as provided for pursuant to 42 U.S.C.A.
§ 1988;

Hl. That plaintiff be awarded the cost of prosecuting this claim as provided for pursuant to 42
US.CA. § 1988;

IV. That plaintiff be awarded reasonable expert fees as provided for pursuant to 42 US.C.A. §
1988;

V. That plaintiff be awarded interest and damages for prejudgment delay;

VI. ‘That plaintiff be awarded further relief'as this Court may deem appropriate.

COUNT II
VIOLATIONS OF CIVIL RIGHTS — 42 US.C.A. §1983
PROCEDURAL DUE PROCESS —- FOURTEENTH AMENDMENT
_ SUPERVISOR LIABILITY

(Sara Coon, Administratrix of the Estate of Maxwell Schollenberger v Erin M. Moyer)

191. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

192.  Atall material times relevant to the subject matter described in this Complaint defendant Erin
Moyer was person within the meaning of 42 U.S.C.A. §1983.

193.  Atall material times relevant to the subject matter described in this Complaint defendant Erin
Moyer acted under the color of state law.

194. At all relevant times material hereto, pursuant to the provisions of The Pennsylvania Child
Protective Services Law, 23 Pa.C.S.A. § 6368 [relating to Responsibilities of Child Protective Services] upon

the direct reporting of suspected child abuse of Maxwell Schollenberger by Ms. Lorie Schollenberger to the

35
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 38 of 56

Lebanon County Children and Youth Services agency, defendant Erin Moyer owed a statutorily mandated
duty to ensure the safety of and to protect Maxwell Schollenberger from child abuse or neglect.

195.  Atall relevant times material hereto defendant Erin Moyer was responsible for safeguarding
Maxwell Schollenberger’s property right of personal security to be protected from child abuse and neglect.

196. At all relevant times material hereto, employees of the Lebanon County Children and Youth .
Services agency demonstrated a systemic pattern of insufficiently responding to reports of suspected child
abuse which resulted in injury to children.

197. At all relevant times material hereto defendant Erin Moyer had actual or constructive notice
that employees of the Lebanon County Children and Youth Services agency required training in connection
with a mandatory duty to respond to reports of suspected child abuse sufficient to ensure the safety of the child-
at-risk.

198. At all relevant times material hereto defendant Erin Moyer failed to supervise, direct, or
control the actions of subordinates who did not respond to direct reporting of suspected child abuse sufficient
to ensure the safety of at-risk-children and which failure caused the plaintiff's decedent Maxwell
Schollenberger to suffer a violation of rights, injury, loss.

199. Atal relevant times material hereto defendant Erin Moyer acknowledged that the training of
Lebanon County Children and Youth Services agency employeés with regard to the mandatory duty to
respond to reports of suspected child abuse sufficient to ensure the safety of the child-at-risk agency was
inadequate and made a deliberate choice not to change it.

200. At all relevant times material hereto upon leaming of Lebanon County Children and Youth
Services agency employees’ failures to carry out the mandatory duty to respond to reports of suspected child
abuse sufficient to ensure the safety of the child-at-risk agency, defendant Erin Moyer failed to remedy the

wrong and allowed the unconstitutional practice to continue.

36
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 39 of 56

201. At all relevant times material hereto defendant Erin Moyer was grossly negligent in
managing subordinates who caused the unlawful condition or event of not responding to direct reporting of
suspected child abuse sufficient to ensure the safety of at-risk-children and which failure caused the plaintiff's
decedent Maxwell Schollenberger to suffer a violation of rights, injury, loss.

202. Asa direct and proximate result of the defendant Erin Moyer’s intentional acts, or omissions
or failures to act plaintiffs decedent Maxwell Schollenberger was caused to suffer a deprivation of
constitutional rights protected by the due process clause of the Fourteenth Amendment of the United States
Constitution.

203. Asadirect and proximate result of the defendant Erin Moyer’s intentional acts, or omissions
or failures to act plaintiff's decedent Maxwell Schollenberger was caused to suffer deprivation of constitutional
rights and that injury, loss, damage, and death aforementioned.

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant Erin Moyer, jointly and severally, and the
relief which follows:

L That plaintiff be awarded compensatory damages as proven;

IL. That plaintiffbe awarded exemplary damages as proven;

I. That plaintiff be awarded reasonable attorey’s fees as provided for pursuant to 42 U.S.C.A.
§ 1988;

TV. That plaintiff be awarded the cost of prosecuting this claim as provided for pursuant to 42
US.CA. § 1988;

V. That plaintiff be awarded reasonable expert fees as provided for pursuant to 42 U.S.C.A. §
1988;

VI. ‘That plaintiff be awarded interest and damages for prejudgment delay;

37
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 40 of 56

Vil. =‘ That plaintiffbe awarded further relief as this Court may deem appropriate.

VIOLATIONS OF CONSTITUTION OF THE COMMONWEALTH OF PENNSYLVANIA
. MUNICIPAL LIABILITY .
(Sara Coon, Administratrix of the Estate of Maxwell Schollenberger v County of Lebanon)

204. The plaintiffincorporates by reference the paragraphs above as if set forth herein in full.

205. At all relevant times material hereto Articles 1, 8, and 26 of the Constitution of the
Commonwealth of Pennsylvania conferred upon children-at-risk a substantive right to personal security and to
be free from child abuse and neglect upon receipt of the direct or referred reporting of suspected child abuse.

206. Upon the direct or referred reporting of suspected child abuse to the civil agency responsible
for receiving and assessing all reports alleging a need for general protective services, the provisions of the
Pennsylvania Child Protective Services Law, 23 PaC.S.A. § 6368 [relating to Responsibilities of Child
Protective Services] confer a protectible property interest in a child-at-risk of child abuse to a reasoned agency
response to ensure the safety of the at-risk-children.

207. The property interest conferred upon child-at-risk of child abuse to a reasoned agency
response is protected by the procedural due process provisions of the Article 1, 8, and 26 of the Constitution of
the Commonwealth of Pennsylvania.

208. — Policy-makers of the defendant County of Lebanon responsible for establishing a final policy,
custom, or practice with respect to safeguarding the substantive right of children at risk to personal security and
to be free from child abuse and neglect upon receipt of the direct or referred reporting of suspected child abuse
exercised a deliberate choice to follow a course of action, from among various altematives, which violated

Articles 1, 8, and 26 of the Constitution of the Commonwealth of Pennsylvania and caused plaintiff's decedent

to suffer a deprivation of constitutional rights and those various injuries, loss and expenses as set forth above.

38
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 41 of 56

209. _ Policy-makers of the defendant County of Lebanon responsible for establishing a final policy,
custom, or practice with respect to safeguarding the procedural process right of children- at-risk to be free from
the taking of its protected property interest to be protected from child abuse and neglect upon the direct or
referred reporting of suspected child abuse exercised a deliberate choice to follow a course of action, from
among various alternatives, which violated Articles 1, 8, and 26 of the Constitution of the Commonwealth of
Pennsylvania and caused plaintiff's decedent to suffer a deprivation of constitutional rights and those various
injuries, loss and expenses as set forth above.

210. As a direct and proximate result of the above-described customs, practices, or policies,
employed by the defendant County of Lebanon, plaintiff's decedent Maxwell Schollenberger has been caused
to suffer a deprivation of constitutional rights protected by the Articles 1, 8, and 26 of the Constitution of the
Commonwealth of Pennsylvania and those various injuries, loss and expenses as set forth above.

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for Judgment against defendant County of Lebanon, jointly and severally, and
the relief which follows:

L That plaintiff be awarded compensatory damages as proven;

I. That plaintiff be awarded interest and damages for prejudgment delay;

I. That plaintiff be awarded fither relief as this Court may deem appropriate.

COUNT IV

VIOLATIONS OF CONSTITUTION OF THE COMMONWEALTH OF PENNSYLVANIA
SUPERVISOR LIABILITY

(Sara Coon, Administratrix of the Estate of Maxwell Schollenberger v Erin M. Moyer)

211. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

 

212. At all relevant times material hereto, defendant Erin Moyer was responsible for safeguarding

the substantive right of plaintiff's decedent Maxwell Schollenberger, protected by Articles 1, 8, and 26 of the

39
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 42 of 56

Constitution of the Commonwealth of Pennsylvania, to personal security and to be free from child abuse and
neglect upon receipt of the direct or referred reporting of suspected child abuse.

213. At all relevant times material hereto, defendant Erin Moyer was responsible for safeguarding
the procedural process right of plaintifP’s decedent Maxwell Schollenberger, protected by Articles 1, 8, and 26
of the Constitution of the Commonwealth of Pennsylvania, to be free from the taking of his property interest to
be protected from child abuse and neglect upon the direct or referred reporting of suspected child abuse
without due process of law.

214. Asa direct and proximate result of the above-described actions or inactions of defendant Erin
Moyer, plaintiff's decedent Maxwell Schollenberger has been caused to suffer a deprivation of constitutional
nights protected by the Articles 1, 8, and 26 of the Constitution of the Commonwealth of Pennsylvania and
those various injuries, loss and expenses as set forth above,

WHEREFORE, the plaintiff individually and as Administratix of the Estate of Maxwell
Schollenberger, deceased, prays for Judgment against defendant Erin Moyer, jointly and severally, and the
relief which follows:

I. That plaintiff be awarded compensatory damages as proven;

0. That plaintiff be awarded exemplary damages as proven;

TH. That plaintiff be awarded interest and damages for prejudgment delay;

IV. That plaintiff be awarded further relief as this Court may deem appropriate.

COUNT V

ENDANGERING WELFARE OF CHILDREN — WRONGFUL DEATH
Sara Coon, Administratrix of the Estate of Maxwell Scholien

    

215. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.
216. At all relevant times material hereto, defendant Scott Schellenberger, Jr. was the parent or

guardian supervising the welfare of plaintiff's decedent Maxwell Schollenberger.
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 43 of 56

217. Atall relevant times material hereto plaintiff's decedent Maxwell Schollenberger was under
the age of eighteen years-old.

218. = Atal relevant times material hereto, defendant Scott Schellenberger, Jr. owed a duty of care,
Protection or support to plaintiff's decedent Maxwell Schollenberger.

219. At all relevant times material hereto, defendant Scott Schellenberger, Jr. was aware of his
duty of care, protection or support to plaintiff's decedent Maxwell Schollenberger.

220. At all relevant times material hereto, defendant Scott Schellenberger, Jr. was aware that
plaintiff's decedent Maxwell Schollenberger was in circumstances that could threaten the child's physical or
psychological welfare,

221. At all relevant times material hereto, defendant Scott Schellenberger, Jr. intentionally and
knowingly violated a duty of care, protection or support owed to plaintifP's decedent Maxwell Schollenberger
in the following ways:

(a) Imprisoned or otherwise held the child captive in an isolated room for prolonged
periods of time;

(b) Failed to provide the child with food sufficient to prevent starvation;

(c) Failed to provide the child with fluids sufficient to prevent dehydration;

(d) Battered the child causing the child to suffer blunt force trauma to vital areas of the
body,

222. _As a direct and proximate result of the defendant Scott Schellenberger, Jr.’s intentional acts,
omissions or failures to act plaintiff's decedent Maxwell Schollenberger was caused to suffer that injury, loss,
damage, and death aforementioned,

223. Defendant Scott Schellenberger, Jr.’s actions were outrageous, malicious, willful, effected

with a reckless indifference to the welfare of the plaintiff's decedent.

41
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 44 of 56

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant Scott Schellenberger, Jr., jointly and severally,
and the relief which follows:

I. That plaintiff be awarded compensatory damages as proven;

I. That plaintiff be awarded exemplary damages as proven;

0. That plaintiff be awarded interest and damages for prejudgment delay;

IV. That plaintiff be awarded further relief as this Court may deem appropriate.

COUNT VI
ENDANGERING WELFARE OF CHILDREN — WRONGFUL DEATH
(Sara Coon, Administratrix of the Estate of Maxwell Schollenberger v Kimberly Maurer)

224. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full,

225. At all relevant times material hereto, defendant Kimberly Maurer was the guardian
supervising the welfare of plaintiff's decedent Maxwell Schollenberger.

226. At all relevant times material hereto, plaintiff's decedent Maxwell Schollenberger was under
the age of eighteen years-old.

227. At all relevant times material hereto, defendant Kimberly Maurer owed a duty of care,
protection or support to plaintiff's decedent Maxwell Schollenberger.

228. — Atall relevant times material hereto, defendant Kimberly Maurer was aware of her duty of
care, protection or support to plaintiff's decedent Maxwell Schollenberger.

229. At all relevant times material hereto, defendant Kimberly Maurer was aware that
plaintiff's decedent Maxwell Schollenberger was in circumstances that could threaten the child's physical or
psychological welfare, |

230. At all relevant times material hereto defendant Kimberly Maurer intentionally and

knowingly violated her duty of care Protection or support owed to plaintifPs decedent Maxwell

42
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 45 of 56

Schollenberger in the following ways:

(a) Imprisoned or otherwise held child captive in an isolated room for prolonged periods

of time;

(b) Failed to provide the child with food sufficient to prevent starvation;

(c) Failed to provide the child with fluids sufficient to prevent dehydration;

(d) Battered the child causing the child to suffer blunt force trauma to vital areas of the
body;

231. As a direct and proximate result of the defendant Kimberly Maurer’s intentional, acts,
omissions or failures to act plaintiff's decedent Maxwell Schollenberger was caused to suffer that injury, loss,
damage, and death aforementioned.

232. Defendant Kimberly Maurer’s actions were outrageous, malicious, willful, effected with a
reckless indifference to the welfare of the plaintiff's decedent.

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant Kimberly Maurer, jointly and severally,
and the relief which follows:

IL That plaintiff be awarded compensatory damages as proven;

0. That plaintiff be awarded exemplary damages as proven;

il. That plaintiff be awarded interest and damages for prejudgment delay;

IV. That plaintiff be awarded further relief as this Court may deem appropriate.

COUNT VII

CIVIL CONSPIRACY
Sara Coon, Administratrix of the Estate of Maxwell Schollenberger v Scott Schollenberger, Jr.

and Kimberly Maurer)
233. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

   

234. At all relevant times material hereto, defendants Scott Schollenberger, Jr. and Kimberly

43
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 46 of 56

Maurer owed a duty to the plaintiff's decedent not to conspire for the purpose of subjecting the plaintiff's
decedent to neglect, emotional distress, bodily harm, injury or death.

235. Defendants Scott Schollenberger, Jr. and Kimberly Maurer engaged in a civil conspiracy
with a purpose of subjecting the plaintifP's decedent to neglect, emotional distress, bodily harm, injury or death.

236. With a common pupose subjecting the plaintifPs decedent to neglect, emotional distress,
bodily harm, injury or death defendants Scott Schollenberger, Jr. and Kimberly Maurer engaged in the
aforementioned overt acts.

237. As a direct and proximate result of the conspiracy engaged by the defendants Scott
Schollenberger, Jr. and Kimberly Maurer, the plaintiff's decedent was caused to suffer the aforementioned
harms, losses and death.

238. The defendants’ actions were outrageous, malicious, willful, effected with a reckless
indifference to the welfare of the plaintiff's decedent.

WHEREFORE, the plaintiff individually and as Administratix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant Scott Schellenberger, Jr.’s and defendant
Kimberly Maurer, jointly and severally, and the relief which follows:

L That plaintiff be awarded compensatory damages as proven at trial;

Il. That plaintiff be awarded exemplary damages as proven at trial;

Il. That plaintiff be awarded interest and:damages for prejudgment delay;

IV. That plaintiff be awarded further relief as this Court may deem appropriate.
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 47 of 56

 

239. The plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

240. Plaintiff, as Administrator of the Estate of Maxwell Schollenberger, deceased brings this
survival action, and those aforementioned, on behalf of the Estate of Maxwell Schollenberger, by virtue of 20
PaC.S.A. § 3373 [relating to Action by or Against Personal Representatives]; 42 Pa.C.S.A. § 8302 [relating to
Survival Action] and Rule 2202(a) of the Pennsylvania Rules of Civil Procedure to recover all damages
recoverable under the Pennsylvania Survival Act.

241. As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies plaintiff's decedent Maxwell Schollenberger was caused to suffer a deprivation
of the right to be free from the taking of his protected property interest without procedural due process to be
safeguarded from child abuse and neglect upon the direct or referred reporting of suspected child abuse as
protected by the Fourteenth Amendment of the United States Constitution.

242. _ As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies plaintifP's decedent Maxwell Schollenberger was caused to suffer a deprivation
of the substantive right of children-at-risk to personal security and to be safeguarded from child abuse and
neglect upon receipt of the direct or referred reporting of suspected child abuse protected by Axticles 1, 8, and
26 of the Constitution of the Commonwealth of Pennsylvania.

243. As a direct and proximate result of the defendant County of Lebanon’s aforementioned
customs, practices, or policies plaintiff's decedent Maxwell Schollenberger was caused to suffer a deprivation
of the right to be free from the taking of his protected property interest without procedural due process to be
safeguarded from child abuse and neglect upon the direct or referred reporting. of suspected child abuse as

protected by the Articles 1, 8, and 26 of the Constitution of the Commonwealth of Pennsylvania

45
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 48 of 56

244. As a direct and proximate result of the aforementioned described affirmative actions of
defendant. County of Lebanon and or its authorized agents, ostensible agents, servants, workman and/or
employees Maxwell Schollenberger, decedent was caused to suffer a deprivation of constitutional rights, pain,
fear, and terror prior to his death.

245. As a direct and proximate result of the aforementioned described ‘affirmative actions of
defendant County of Lebanon Maxwell Schollenberger, decedent was caused to suffer the loss of net earings
he would have eamed between the date of his death and his reasonable life expectancy,

246. As a direct and proximate result of the aforementioned described affirmative actions of
defendant County of Lebanon and/or its authorized agents, ostensible agents, servants, workman and/or
employees decedent Maxwell Schollenberger was caused to suffer the loss of life’s pleasures.

247. As a direct and proximate result of the aforementioned described affirmative actions of
defendant County of Lebanon and or its authorized agents, ostensible agents, servants, workman and/or
employees decedent Maxwell Schollenberger was caused to incur attomey’s fees and costs prosecuting this
matter.

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant County of Lebanon, jointly and severally,
upon the causes of actions set forth on behalf of the Estate of Maxwell Schollenberger deceased, and the relief
which follows:

L That plaintiff be awarded compensatory damages as proven;

I. That plaintiff be awarded reasonable attomey’s fees as provided for pursuant to 42 U.S.C.A.
§ 1988;

I. — That plaintiff be awarded the cost of prosecuting this claim as provided for pursuant to 42

US.CA. § 1988:
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 49 of 56

IV. That plaintiff be awarded reasonable expert fees as provided for pursuant to 42 U.S.C_A. §
1988;

V. That plaintiff be awarded interest and damages for prejudgment delay:

VI. That plaintiff be awarded further relief as this Court may deem appropriate.

COUNT IX
(ara Coon, Administratrix of the Estate of Maxwell Schollenberger v Erin Moyer

   

248. Plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

249. Asa direct and proximate result of the above-described affirmative action of defendant Erin
Moyer, plaintiff's decedent Maxwell Schollenberger has been caused to suffer a deprivation of the right to be
free from the taking of his protected Property interest without procedural due process to be safeguarded from
child abuse and neglect upon the direct or referred reporting of suspected child abuse as protected by the
Fourteenth Amendment of the United States Constitution.

250. Asa direct and proximate result of the above-described affirmative action of defendant Erin
Moyer plaintiff's decedent Maxwell Schollenberger has been caused to suffer a deprivation of the substantive
right of children-at-risk to personal security and to be safeguarded from child abuse and neglect upon receipt of
the direct or referred reporting of suspected child abuse protected by Articles 1, 8, and 26 of the Constitution of
the Commonwealth of Pennsylvania.

251. As a direct and proximate result of the above-described affirmative action of defendant Erin
Moyer plaintiff's decedent Maxwell Schollenberger has been caused to suffer a deprivation of the right to be
free from the taking of his protected property interest without procedural due process to be safeguarded from
child abuse and neglect upon the direct or referred reporting of suspected child abuse as protected by the
Articles 1, 8, and 26 of the Constitution of the Commonwealth of Pennsylvania

252. _ As a direct and proximate result of the above-described affirmative action of defendant Erin

47
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 50 of 56

Moyer plaintifP's decedent Maxwell Schollenberger has been caused to suffer a deprivation of constitutional
rights, pain, fear, and terror prior to his death, .

253. Asa direct and proximate result of the above-described affirmative action of defendant Erin
Moyer plaintifPs decedent Maxwell Schollenberger has been caused to suffer the loss of net earings he
would have eamed between the date of his death and his reasonable life expectancy.

254. As a direct and proximate result of the above-described affirmative action of defendant Erin
Moyer plaintiff's decedent Maxwell Schollenberger has been caused to suffer the loss of life’s pleasures.

255. _ Asa direct and proximate result of the above-described affirmative action of defendant Erin
Moyer plaintifP's decedent Maxwell Schollenberger has been caused to suffer and those various injuries, loss
and expenses as set forth above.

256. As a direct and proximate result of the above-described affirmative action of defendant Erin
Moyer plaintiff's decedent Maxwell Schollenberger has been caused to incur attomey’s fees and costs
prosecuting this matter.

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant Erin Moyer, jointly and severally, upon the
causes of actions set forth on behalf of the Estate of Maxwell Schollenberger deceased, and the relief which
follows:

I. That plaintiff be awarded compensatory damages as proven;

I. That plaintiff be awarded reasonable attomey’s fees as provided for pursuant to 42 U.S.C.A.
§ 1988;

I. — That plaintiff be awarded the cost of Prosecuting this claim as provided for pursuant to 42
US.CA. § 1988;

IV. That plaintiff be awarded reasonable expert fees as provided for pursuant to 42 U.S.C.A. §

48
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 51 of 56

1988;
V. That plaintiff be awarded interest and damages for prejudgment delay;
VL That plaintiff be awarded further relief as this Court may deem appropmiate.

COUNT X
Sara Coon, Administratrix of the Estate of Maxwell Schollenberger v Scott Schollenber er, Jr.

   

257. _ Plaintiffincorporates by reference the paragraphs above as if set forth herein in full.

258. Asa direct and proximate result of the aforementioned intentional, grossly negligent, careless
and/or reckless actions of defendant Scott Schollenberger, Jr., plaintiff's decedent Maxwell Schollenberger
was caused to suffer the loss of life’s pleasures,

259. _ As adirect and proximate result of the aforementioned intentional, grossly negligent, careless
and/or reckless actions of defendant Scott Schollenberger, Jr. plaintifs decedent Maxwell Schollenberger was
caused to suffer those various injuries, loss and expenses as set forth above.

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant Scott Schellenberger, Jr., jointly and severally,
and the relief which follows:

L That plaintiff be awarded compensatory damages as proven;

0. That plaintiff be awarded exemplary damages as proven;

1 That plaintiff be awarded interest and damages for prejudgment delay;

IV. That plaintiff be awarded further relief as this Court may deem appropriate.

COUNT XI

‘(Sara Coon, Administratrix of the Estate of Maxwell Schollenberger v Kimberly Maurer )

260. Plaintiff incorporates by reference the paragraphs above as if set forth herein in full.

 

261. Asa direct and proximate result of the aforementioned intentional, grossly negligent, careless

49
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 52 of 56

and/or reckless actions of defendant Kimberly Maurer, plaintiffs decedent Maxwell Schollenberger was
caused to suffer the loss of life’s pleasures.

262. Asa direct and proximate result of the aforementioned intentional, grossly negligent, careless
and/or reckless actions of defendant Kimberly Maurer, plaintiff's decedent Maxwell Schollenberger was
caused to suffer those various injuries, loss and expenses as set forth above.

WHEREFORE, the plaintiff individually and as Administratrix of the Estate of Maxwell
Schollenberger, deceased, prays for judgment against defendant Kimberly Maurer, jointly and severally,
and the relief which follows:

L That plaintiff be awarded compensatory damages as proven;

IL. That plaintiff be awarded exemplary damages as proven;

=

That plaintiff be awarded interest and damages for prejudgment delay;

IV. _ That plaintiff be awarded further relief as this Court may deem appropriate.

Respectfully submitted,

By:  4/Steven F: Marino
Steven F. Marino, Esquire
PA Attomey LD. No. 53034
Joseph Auddino, Esquire
PA Attomey ID. No. 316752
MARINO ASSOCIATES
301 Wharton Street
Philadelphia, PA 19147
Telephone: (215) 462-3200
Telecopier: (215) 462-4763

smarino(@marinoassociates.net
jauddino@marinoassociates.net

Dated: August 24, 2021 Attorneys for Plaintiff

50
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 53 of 56

VERIFICATION
The undersigned, having read the attached verifies that the facts set forth in the forgoing are
based on information furnished to counsel in the course of this proceeding and are true and accurate
to the best of the knowledge, information and belief of the undersigned. The language included in the
submission is that of counsel and not of the undersigned. To the extent that the content of the
submission is that of counsel, the undersigned has relied upon counsel in providing this Verification.
This Verification is executed subject to the penalties for unswom falsification to authorities pursuant

to 18 Pa.C.S.A 4904.

Respectfully submitted,

eee
hk
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 54 of 56

EXHIBIT
 

Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 55 of 56

REGISTER OF WILLS
CERTIFICATE OF GRANT OF LETTERS
Estate No. 2021-00637
State File No. 3821-0571
Estate of MAXWELL. THOMAS SCHOLLENBERGER
ae
as
Social Security No.

WHEREAS ,

MAXWELL THOMAS SCHOLLENBERGER, late of ANNVILLE TOWNSHIP,
died on the Twenty-sixth day of May, A.D. 2020, and

WHEREAS, the grant of letters is required for the
administration of the estate.

THEREFORE, I, BRIAN CRAIG Register of Wills in and for
the County of Lebanon in the Commonwealth of Pennsylvania,
have this day granted LETTERS OF ADMINISTRATION
to SARAL.COON
who has duly qualified as ADMINISTRATOR and has

agreed to administer the estate according to law, all of which

fully appears of record in my Office at Lebanon, Pennsylvania.

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
the seal of my Office the Twenty-eighth day of June, A.D. 2021.

Ko rurene bo-

Register of Wills, eke
Case 1:21-cv-01674-JPW Document 1-2 Filed 09/28/21 Page 56 of 56

COMMONWEALTH OF PENNSYLVANIA }
ss

COUNTY OF LEBANON

I, BRIAN CRAIG, Register for the Probate of
Wills and Granting Letters of Administration
in and for the County of Lebanon, in the
Commonwealth of Pennsylvania, do hereby
certify and make known that on the
Twenty-eighth day of June, A.D. 2021,

LETTERS OF ADMINISTRATION

on the Estate of
MAXWELL THOMAS SCHOLLENBERGER, deceased,
were granted unto

SARA L. COON

having been duly affirmed to administer the

Same according to law, said appointment has never been revoked and
is still in full force and effect.

Given under my hand and official seal, this Twenty-ninth day

of June, A.D. 2021.

Date of Death 5/26/20
Social Security No.
State File No. 3821-0

4 BRIAN CRAIG, Register

Per SR grr orn YtAoe

Deputy- Cl er1C

NOT VALID WITHOUT EMBOSSED SEAL

SHORT CERTIFICATE
